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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 SHEIK A.L. MARTIN ALI EL-BEY,                       )
                                                     )
                  Plaintiff,                         )
                                                     )
           v.                                        )         No. 4:20-CV-1477-SRW
                                                     )
 KANSAS CITY, MISSOURI POLICE                        )
 DEPARTMENT AND ITS                                  )
 COMMISSIONERS, et al.,                              )
                                                     )
                  Defendants.                        )

                       MEMORANDUM AND ORDER OF TRANSFER

        On October 13, 2020, self-represented plaintiff Sheik A.L. Martin Ali El-Bey, a civilly

committed person currently housed at Fulton State Hospital, filed this civil rights complaint in this

Court. For the reasons set forth below, the Court concludes this action should be transferred to the

United States District Court for the Western District of Missouri.

        The complaint names as defendants Kansas City, Missouri Police Department and its

Commissioners; Janette Rodecap, Jackson County Circuit Court Judge; and the Missouri

Department of Mental Health. Although plaintiffs allegations are unclear, he appears to be

alleging he is being involuntarily medicated at Fulton State Hospital. Plaintiff also alleges he is a

"Moorish Masonic Bona Fide Adept Official" being held against µis will "when simultaneously

the aforesaid license credential commission authority currently exists that is automatically

suppose[d] to bestow upon complainant sovereign diplomatic immunity thr[ough] their very

existence."

        Pursuant to 28 U.S.C. § 1391(b), venue over civil rights actions properly lies only in: (1) a

judicial district where any defendant resides, if all defendants reside in the same State; (2) a judicial
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district in which a substantial part of the events or omissions giving rise to the claim occurred, or

a substantial part of property that is the subject of the action is situated, or (3) a judicial district in

which any defendant may be found if there is no district in which the action may otherwise be

brought. If venue does not properly lie in the district where the action is filed, the Court must

either dismiss the action, or if it be in the interest of justice, transfer the action to the proper district.

28 U.S.C. § 1406(a)~

        In the instant action, defendants Kansas City, Missouri Police Department and Janette

Rodecap, Jackson County Circuit Court Judge, reside in the Western District of Missouri.

Moreover, a substantial part of the conduct complained of occurred at Fulton State Hospital in

Callaway County, Missouri, which is also in the Western District of Missouri. See 28 U.S.C. §

105(b)(4). Accordingly, pursuant to 28 U.S.C. § 1391(b)(2), venue for this action properly lies in

the United States District Court for the Western District of Missouri.

        Accordingly,

        IT IS HEREBY ORDERED that the Clerk shall transfer this case to the United States

District Court for the Western District of Missouri. See 28 U.S.C. § 1406(a).

        IT IS FURTHER ORDERED that all pending motions in this action shall be

administrative terminated after transfer of this action.

        Dated this ,_r~day October, 2020.




                                                       STEPHENN. LMBAUGH,JR.
                                                       SENIOR UNITED STATES DISTRICT JUDGE




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